Case 2:05-cv-02288-SHI\/|-dkv Document 6 Filed 07/29/05 Page 1 of 2 Page|D 3

 

IN THE UNITED sTATEs I)ISTRICT C0URT 'H"ED BY "` g o`c`
FoR THE wESTERN DISTRICT oF TENNESSEE _ ,
WESTERN DIVISION 05 JUL 29 PH 3 ug
CLEH<. U.S t¥;~:.?m_CT COURT
LAWRENCE E. GILPIN, W;D C»z-- €r»!, z~..i“rif»PHLS
Plainciff,
vs CIvIL ACTION No: 05-2288~mv

JO ANNE B. BARNHART,
Commissioner of Social Security,

Defendant.

 

ORDER GRANTING ADDITIONAL 'I`IME TO FILE BRIEF

 

COMES NOW the Plaintiff, who has requested the Court for a Continuance By Motion
Which this Court has accepted

WHEREFORE, PREMISES CONSIDERED

1. The Court finds that a continuance be granted

2. The Court finds that Plaintiff’s brief Shall be filed on or before August 28, 2005.

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JUDGE

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with Ru\e 58 and/or 79(3) FRGP on \ 13 , 9

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 6 in
case 2:05-CV-02288 Was distributed by faX, mail, or direct printing on
August 1, 2005 to the parties listed.

 

Lester T. Wener
MCWHORTER & WENER
100 N. Main Street

Ste. 1234

Memphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

